           Case 1:15-cr-00319-JLT-SKO Document 97 Filed 08/15/17 Page 1 of 2



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 6

 7
                             IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                   EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                         ) Case No.: 1:15-CR-00319-LJO-SKO-6
11                                                     )
                Plaintiff,                             ) ORDER APPROVING STIPULATION
12                                                     ) TO SPECIALLY SET HEARING ON
     vs.                                               )
13                                                     ) MOTION FOR DISCOVERY
                                                       )
14                                                     ) Date: August 22, 2017
     MARISOL QUINTERO SOLORIO,                         ) Time: 8:30 a.m.th
15                                                     ) Courtroom 4, 7 Floor
                Defendant.                             ) Judge: Honorable Lawrence J. O’Neill
16                                                     )
                                                       )
17                                                     )
18

19         GOOD CAUSE APPEARING, it is hereby ORDERED that:
20         1.         The motion for discovery is specially set and will be heard on Tuesday, August
21                    22, 2017 at 8:30 a.m.;
22
           2.         Ms. Servatius shall serve and file her response to the motion by Friday, August
23
                      18, 2017
24

25
     IT IS SO ORDERED.
26
       Dated:       August 15, 2017                         /s/ Lawrence J. O’Neill _____
27
                                                   UNITED STATES CHIEF DISTRICT JUDGE
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